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                                                 December 6, 2019

The Honorable Robert B. Kugler, U.S.D.J.
Mitchell H. Cohen Federal Building & U.S. Courthouse
4th and Cooper Streets
Camden, New Jersey 08102

          Re:        United States v. William Hickman, et al., Crim. No. 19-191 (RBK)
                     United States v. Michael Pepper, Crim. No. 17-329 (RBK)

Dear Judge Kugler:

        The Government submits this letter brief in response to defendants William and Sara
Hickman’s Motion to Obtain Certain Relief from the Post-Indictment Restraining Order. The
Hickmans ask to be relieved of all responsibilities to maintain three properties purchased with the
Hickmans’ money, funds that the Hickmans obtained by fraud. They seek to use their own acts of
money laundering and concealment of fraudulent proceeds – including William Hickman’s
deliberate choice to keep their names off the papers for properties he spent over $850,000 to buy
and improve – to avoid the responsibility for maintaining these assets. Instead of rewarding their
acts of concealment, the Court should deny their motion and order what all interested parties want:
that the three properties be sold, with the proceeds held pending resolution of these cases.

        The relevant facts appear to be largely undisputed. William Hickman and his co-
conspirator Michael Pepper (who pled guilty on August 18, 2017) had an agreement to buy three
properties in Linwood, New Jersey: 5 East Monroe Avenue, 11 West Edgewood Avenue, and
1117-1119 Shore Road (collectively, the “Subject Properties”). See Exhibit A (Memorandum of
Interview of Michael Pepper). Using money from a Boardwalk Medical account jointly controlled
by William and Sara Hickman, William Hickman provided the funds to purchase the Subject
Properties, but they were put in the name of Pepper’s company, MJP Construction, Inc. (“MJP”).
See Exh. A ¶ 1; Exhibit B (checks used to fund purchases). More specifically:

     x    5 East Monroe’s $125,000 purchase price and related expenses were funded by William
          Hickman with a $128,032.92 bank check purchased with funds from the Boardwalk
          Medical account. Exh. A ¶ 3; Exh. B. This transaction is charged as an act of money
          laundering in count 44 of the Indictment. William Hickman then took $600,000 from the
          Boardwalk Medical account, purchased a bank check to MJP, and gave Pepper the check
          to improve the property. Exh. A ¶ 4; Exh. B. The $600,000 transaction is charged as an
          act of money laundering in count 47 of the Indictment.

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     x   11 West Edgewood’s $75,000 purchase price and related expenses were funded by William
         Hickman with a $77,428.24 bank check purchased with funds from the Boardwalk Medical
         account. Exh. A ¶ 9; Exh. B. This transaction is charged as an act of money laundering in
         count 45 of the Indictment.
     x   1117-1119 Shore Road’s $75,000 purchase price and related expenses were funded by
         William Hickman with a $76,653.23 bank check purchased with funds from the Boardwalk
         Medical Account. Exh. A ¶ 11; Exh. B. This transaction is charged as an act of money
         laundering in count 46 of the Indictment.

        In an apparent effort to conceal the Hickmans’ interest in these properties, their names are
not listed on the deeds, and there is not even a written agreement between Pepper and the
Hickmans. According to Pepper, upon the sale of each Subject Property, the parties agreed that
William Hickman would receive back his principal investment plus 5% interest and that profits
would be split, with 60% going to Pepper and 40% going to William Hickman. Exh. A ¶ 2. Unless
William Hickman gave Pepper over $850,000 of the Hickmans’ money with no strings attached,
Pepper’s description of the agreement is credible. The Hickmans have an ownership interest in
the Subject Properties.

       The Indictment gave notice of the Government’s intent to forfeit, upon conviction, the
Hickmans’ ownership interests in various assets and specifically named the Subject Properties.
The Court entered a Post-Indictment Restraining Order Pursuant to 21 U.SC. § 853 ordering the
Hickmans, Michael Pepper, MJP and “all . . . persons . . . who have an interest in or control over
the” Subject Properties to not sell or diminish the value of the properties and “[to] maintain the
present condition of the [Subject Properties], including timely payment of all mortgage payments,
and insurance, utilities, taxes, and assessments.” Exh. A to Hickmans’ Motion ¶¶ 2-3.

        The Hickmans seek relief from the maintenance requirements because they kept their
names off the deeds and concealed their interest in the Subject Properties. The Court, however,
should look at the reality of the situation rather than the fiction William Hickman created. Using
the proceeds of the Hickmans’ massive fraud scheme, William Hickman jointly invested in the
properties with Pepper. Any profits from the properties were to be split between the parties, with
William Hickman obtaining 40% of the profits, the return of the original investment, and 5%
interest on the original investment. Given that the parties jointly shared the profits, they would
jointly share the expenses, as any expenses paid on the properties would be deducted to determine
the profits. Indeed, according to Pepper’s counsel, Pepper and William Hickman had an oral
agreement whereby William Hickman agreed to pay the property taxes associated with the Subject
Properties. See Exhibit G to the Hickmans’ Motion. The amount is not onerous; according to
Pepper’s counsel, the total unpaid taxes for all three properties is less than $10,000.

         Moreover, aside from any actual or implied agreement to split the expenses, the Hickmans
certainly “have an interest in” the Subject Properties, which is sufficient under the Restraining
Order to obligate them to maintain the properties, including the payment of expenses. The
Hickmans cannot escape the requirement to maintain the properties purchased with proceeds of
their fraud.1

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 The Hickmans’ motion claims that complying with the Restraining Order would risk charges of witness tampering.
Obviously, this Court did not order the Hickmans to engage in witness tampering, and honoring their Court-ordered
obligations through counsel would not constitute witness tampering or a violation of their release conditions.
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        After receiving the Hickmans’ motion, the Government contacted counsel for the
Hickmans and for Pepper and attempted to resolve this dispute without the need for Court action.
All counsel support selling the Subject Properties. The sooner the properties are sold, the sooner
both the Hickmans and Pepper will be relieved of the obligations and responsibilities associated
with the Subject Properties. The Government has prepared the enclosed Proposed Order to
effectuate the sales. Exhibit C. Under this proposed resolution, Pepper, through MJP, would
engage a realtor to market and offer the Subject Properties for sale to the public in a commercially
feasible manner, and each of the properties would be sold by MJP for fair market value in an arm’s
length, interlocutory sale under terms and conditions of a written contract approved by the
Government. See Exh. C, ¶¶ 1-4. Both the Hickmans and Pepper would continue to be jointly
responsible for, among other things, maintenance of the Subject Properties, maintaining insurance
policies for the properties, and payments of obligations and taxes on the properties. See id. ¶¶ 5-
8. Further, given that the Subject Properties are subject to forfeiture because they were purchased
with criminal proceeds, the net proceeds of any sale would held by the U.S. Department of
Treasury as property subject to forfeiture in place of the sold properties. See id. ¶¶ 12-14.

        Finally, Michael Pepper should participate in any resolution of this issue, as the Hickmans’
proposed resolution would shift responsibilities for the Subject Properties, currently shared by
Court Order, entirely to Pepper. For that reason, the Government sent Pepper’s counsel the
Hickman’s motion and is serving Pepper’s counsel with this letter brief. The Government submits
that counsel for Pepper should be given notice and the opportunity to be heard on this issue.

       For the reasons set forth above, the Government respectfully requests that the Court deny
the Hickmans’ motion and enter the enclosed Proposed Order resolving this matter. Should the
Court have any questions, the Government will be prepared to address any such inquiries at the
upcoming status conference on December 10, 2019, or at any other time the Court prefers.

                                                     Respectfully submitted,

                                                     CRAIG CARPENITO
                                                     United States Attorney

                                                     /s/ R. David Walk, Jr.

                                                     By:     R. DAVID WALK, JR.
                                                             CHRISTINA O. HUD
                                                             BARBARA A. WARD
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cc:    Samuel Moulthrop, Esq., Counsel for William Hickman (via email)
       Ryan Magee, Esq., Counsel for William Hickman (via email)
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       Joseph Levin, Esq., Counsel for Michael Pepper (via email)




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